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     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 2:13-cr-00053-MCE
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO SEPTEMBER 25,
12           v.                                     )   AT 9:00 A.M.
                                                    )
13   OMAR VERA, JOSE MORALES                        )   Date: September 4, 2014
     CASTELLON, EDUARDO REYES,                      )   Time: 9:00 a.m.
14                                                  )   Judge: Honorable Morrison C. England, Jr.
                                Defendant.          )
15                                                  )
16
17             The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for September 4, 2014, at 9:00 a.m., to September 25, 2014, at 9:00 a.m.
19             Defense counsel require the continuance to consult with their clients about proposed plea
20   agreements, and to negotiate with the government.
21             Counsel and the defendants agree that the Court should exclude the time from the date of
22   this order through September 25, 2014, when it computes the time within which trial must
23   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
24   ///
25   ///
26   ///
27   ///
28

      Stipulation to Continue                           -1-                                       13-53 MCE
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1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: September 3, 2014                       HEATHER E. WILLIAMS
                                                    Federal Defender
5
                                                    /s/ M.Petrik__________
6                                                   MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Mr. Vera
8
9    DATED: September 3, 2014
10
                                                    /s/ M.Petrik for_______
11                                                  KYLE RODGER KNAPP
                                                    Attorney for Mr. Castellon
12
13   DATED: September 3, 2014
14
                                                    /s/ M.Petrik for_______
15                                                  RONALD JAMES PETERS
                                                    Attorney for Mr. Reyes
16
17   DATED: September 3, 2014                       BENJAMIN B. WAGNER
18                                                  United States Attorney

19                                                  /s/ M.Petrik for_______
                                                    JASON HITT
20                                                  Assistant U.S. Attorney
21
22                                                  ORDER

23             The Court, having received, read, and considered the stipulation of the parties, and good
24   cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
25   that the failure to grant a continuance in this case would deny defense counsel reasonable time
26   necessary for effective preparation, taking into account the exercise of due diligence. The Court
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28

      Stipulation to Continue                          -2-                                          13-53 MCE
       Case 2:13-cr-00053-JAM Document 40 Filed 09/05/14 Page 3 of 3


1    finds that the ends of justice served by granting the continuance outweigh the best interests of the
2    public and defendants in a speedy trial.
3              The Court orders the status conference rescheduled for September 25, 2014, at 9:00 a.m.
4    The Court orders the time from the date of this order, up to and including September 25, 2014,
5    excluded from computation of time within which the trial of this case must commence under the
6    Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
7              IT IS SO ORDERED.
8    Dated: September 4, 2014
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      Stipulation to Continue                         -3-                                       13-53 MCE
